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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


RODNEY TYGER and SHAWN                     :   CIVIL ACTION NO. 4:11-CV-1913
WADSWORTH,                                 :
                                           :   (Judge Conner)
                   Plaintiffs              :
                                           :
             v.                            :
                                           :
PRECISION DRILLING CORP.,                  :
et al.,                                    :
                                           :
                   Defendants              :

                                 MEMORANDUM

      Presently before the court is plaintiffs Rodney Tyger’s (“Tyger”) and Shawn

Wadsworth’s (“Wadsworth”) motion (Doc. 23) for conditional collective action

certification under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq (“FLSA”).

For the reasons that follow, the court shall grant the motion.

I.    Background

      Tyger and Wadsworth filed this FLSA collective action, pursuant to 29 U.S.C.

§ 216(b), on October 17, 2011. (Doc. 1). They filed an amended complaint on

January 4, 2012. (Doc. 8). The following four plaintiffs “opted in” to Tyger and

Wadsworth’s lawsuit: Mike Fouillard, John Harrower, David Howard, and Neil

Heidelbach. (Docs. 9, 13, 21, 35). Plaintiffs are hourly rig employees who worked
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for defendants Precision Drilling Corporation,1 Precision Drilling Oilfield Services,

Inc., and Precision Drilling Company, LP (hereinafter “Precision”) within the last

three years. (Doc. 8).

      Plaintiffs assert that Precision requires its hourly rig employees to report to

work prior to their official shift to don personal protective equipment (“PPE”).

(Doc. 24). The workers subsequently walk from the donning location to another

location where they attend a compulsory pre-shift safety meeting. (Id.) Plaintiffs

allege that Precision begins compensating its hourly rig employees when the pre-

shift meeting commences. (Id.) At the end of the shift, Plaintiffs claim that

Precision requires workers to attend a second safety meeting which lasts

approximately 5-10 minutes beyond their official shift. (Id.) Plaintiffs state that

employees then walk from the post-shift safety meeting to a separate location where

they doff the PPE. (Id.) Plaintiffs aver that hourly rig employees are not paid for

any of this post-shift activity. (Id.) In sum, Plaintiffs claim that Precision is

violating FLSA by refusing to compensate hourly rig workers for three acts: (1)

donning and doffing PPE; (2) walking between the donning and doffing location

and the pre and post-shift safety meeting location; and (3) attending post-shift

safety meetings. (Id.)




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               Defendants assert that Precision Drilling Corporation is not a
proper defendant in this action. Rather, the appropriate defendant is Precision
Drilling Company, LP. (Doc. 5, at 1 n.1).

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      Plaintiffs filed the instant motion on February 24, 2012, requesting the court

to conditionally certify the matter as a collective action and to assist in facilitating

notice to prospective opt-in plaintiffs. (Doc. 23). Plaintiffs propose that the

prospective opt-in class comprise all hourly rig employees who worked for Precision

in the United States within the last three years. (Id.) Plaintiffs assert that they

worked for Precision in Pennsylvania, Utah, Colorado, Louisiana, and Wyoming

within the last three years and that Precision’s contested policy was uniform at

each location. (Doc. 24). Plaintiffs rely on their verified complaint, Precision’s

answer to the first amended complaint, and several sworn declarations. (Id.)

Precision relies on seven rig managers’ sworn declarations to argue that many rig

employees are paid for time spent donning and doffing PPE and for post-donning

and pre-doffing walking time. (Doc. 36, at 2). Precision also alleges that there are

no post-shift safety meetings at some rigs and that even when there are meetings,

the amount of time spent is sporadic and short. (Id.) This motion is fully briefed

and ripe for disposition.

II.   Discussion

      Congress enacted the FLSA for the purpose of protecting all covered workers

from substandard wages and oppressive working hours. Under § 216(b), an

employer who violates the FLSA is liable to the affected employee or employees for

unpaid minimum or overtime compensation, and for an additional equal amount as

liquidated damages. 29 U.S.C. § 216(b).


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      Section 216(b) allows an employee to bring suit against his employer “for and

in behalf of himself or themselves and other employees similarly situated.”

29 U.S.C. § 216(b). This section enables a named plaintiff to represent a class of

similarly situated employees in a “collective action,” similar to class actions

governed under Federal Rule of Civil Procedure 23. Any similarly situated

employee wishing to be part of the collective action must file written consent to be

bound by the judgment. Id.

      Courts typically employ a two-tiered analysis when determining whether to

certify a collective action. See Symczyk v. Genesis HealthCare Corp., 656 F.3d 189,

192 n.5 (3d Cir. 2011) (“Although this two-step approach is nowhere mandated, it

appears to have garnered wide acceptance.”). The court must determine

preliminarily whether the “class” of employees enumerated in the complaint are

“similarly situated” to the named plaintiff. Id. at 192. If so, the court shall

“conditionally certify” the collective action to provide notice to potential opt-in

plaintiffs and an opportunity for discovery. Id. Subsequent to discovery, the court

must determine definitively whether each opt-in plaintiff is similarly situated to the

named plaintiff. Id. at 193.

      District courts differ on the evidentiary standard required of plaintiffs to

establish that employees are “similarly situated” for conditional certification. Some

courts have obligated plaintiffs to set forth a mere “substantial allegation” in the

pleadings that the proposed class is similarity situated. See, e.g., Felix De Asencio


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v. Tyson Foods, Inc., 130 F. Supp. 2d 660 (E.D. Pa. 2001). Other courts have

required a “modest factual showing.” See Smith v. Sovereign Bancorp, Inc., Civ. A.

No. 03-2420, 2003 U.S. Dist. LEXIS 21010, at *2 (E.D. Pa. Nov. 13, 2003). The Third

Circuit has not unequivocally decided this issue, but the Smyczyk court directed

the district court to apply the “modest factual showing” standard to the plaintiff’s

anticipated certification motion upon remand. 656 F.2d at 201. The Smyczyk court

reasoned that the “modest factual showing” standard best corresponds with

congressional intent and Supreme Court precedent. Id. at 192-93.

      Under the “modest factual showing” standard, plaintiffs must produce some

evidence of a “factual nexus” between Precision’s alleged refusal to compensate

plaintiffs and its alleged refusal to compensate other employees. Id. at 193. This

standard is permissive and “typically results in conditional certification of a

representative class.” Shakib v. Back Bay Rest. Group, Inc., Civ. A. No. 10-4564,

2011 U.S. Dist. LEXIS 124143, at *5 (D.N.J. Oct. 26, 2011) (internal quotation and

citation omitted).

      In Titchenell v. Apria Healthcare, Inc., Civ. A. No. 11-563, 2011 U.S. Dist.

LEXIS 129475 (E.D. Pa. Nov. 8, 2011), our sister court granted conditional

certification in a case where the plaintiff sued her employer for uncompensated

overtime as a result of an alleged nationwide policy. The Titchenell plaintiff

provided affidavits from two other individuals employed in two other offices who

were also not compensated for overtime work. 2011 U.S. Dist. LEXIS 129475, at *4.


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The court rejected defendant’s argument that the proposed class’s claims were too

individualized for collective treatment, reasoning that defendants should raise such

an argument in a post-discovery motion for decertification. Id. at *18.

      Similar to Titchenell, plaintiffs have set forth a modest factual showing.

Plaintiffs attached sworn declarations from Shawn Wadsworth, Neil Heidelbach,

John Harrower, and Michael Fouillard. (See Docs. 23-2, 23-4, 23-5, 23-6). These

plaintiffs worked for Precision in Pennsylvania, Utah, Colorado, Louisiana, and

Wyoming within the last three years. (Id.) Each declarant swears that he was not

paid for donning and doffing PPE, walking between the donning and doffing

location and the meeting location, and attending post-shift safety meetings. (Id.)

Each declarant contends that hourly rig employees were not paid for these

activities at the declarants’ employment locations. (Id.) Further, Precision admits

that “as a general matter its hourly rig employees have not been compensated, for

time spent donning [and doffing] personal safety equipment if the donning [or

doffing] occurs before the beginning [or after the end] of the shift or compensated

work time. . . .” (Doc. 18 ¶¶ 31, 33). Such evidence satisfies the “modest factual

showing” standard required for the court to grant conditional certification.

      Precision disputes many of plaintiffs’ facts with its own sworn affidavits from

seven rig managers. Precision alleges that plaintiffs’ claims will require significant

individualized inquiry and are inappropriate for a collective action. The court

heeds Precision’s concerns, but notes that such arguments are inappropriate


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considerations for its preliminary determination of conditional certification. See

Beauchamp v. Penn Mut. Life Ins. Co., Civ. A. No. 10-7170, 2011 U.S. Dist. LEXIS

83374, at *14 (E.D. Pa. July 29, 2011) (“While such [contradictory affidavits]

undoubtedly will be highly relevant to the analysis of whether potential collective

action members are similarly situated, it is more properly considered at the post-

discovery decertification stage.”); Burkhart-Deal v. Citifinancial, Inc., Civ. A. No. 07-

1747, 2010 U.S. Dist. LEXIS 9534, at *9 (W.D. Pa. Feb. 4, 2010) (“A defendant’s claim

or defense that individualized circumstances of employees render the matter

unsuitable for collective treatment may be more appropriately reviewed during step

two of the certification process.”).

III.   Conclusion

       For the foregoing reasons, the court shall grant Tyger and Wadsworth’s

motion (Doc. 23) for conditional collective action certification for all Precision

hourly rig employees who worked for Precision in the United States within the last

three years. The parties shall have fourteen (14) days to meet and confer with

regard to the form and method of notice for prospective members of the collective

action. An appropriate order follows.



                                             S/ Christopher C. Conner
                                            CHRISTOPHER C. CONNER
                                            United States District Judge



Dated:       January 7, 2013
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RODNEY TYGER and SHAWN                      :   CIVIL ACTION NO. 4:11-CV-1913
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                                            :   (Judge Conner)
                    Plaintiffs              :
                                            :
             v.                             :
                                            :
PRECISION DRILLING CORP.,                   :
et al.,                                     :
                                            :
                    Defendants              :

                                        ORDER

      AND NOW, this 7th day of January, 2013, upon consideration of plaintiffs’

motion (Doc. 23) for conditional collective action certification, it is hereby

ORDERED that:

      1.     Plaintiffs’ motion (Doc. 23) for conditional collective action
             certification is GRANTED.

      2.     The parties shall meet and confer on an appropriate form and method
             of notice for prospective members of the collective action and shall
             submit a proposed notice to the court within fourteen (14) days of the
             date of this order.



                                             S/ Christopher C. Conner
                                            CHRISTOPHER C. CONNER
                                            United States District Judge
